
93 N.Y.2d 982 (1999)
In the Matter of MARIANNE NESTOR et al., Appellants,
v.
NEW YORK STATE DIVISION OF HOUSING AND COMMUNITY RENEWAL, Respondent, and THOMAS BRITT, Intervenor-Respondent.
SHERWIN BELKIN et al., Nonparty Appellants.
Court of Appeals of the State of New York.
Submitted May 3, 1999.
Decided July 1, 1999.
Motion, insofar as the Nestor appellants seek leave to appeal from that portion of the Appellate Division order that affirmed the allowance of post-judgment sanctions in an amount not yet fully determined, dismissed upon the ground that such portion of the order sought to be appealed from does not finally determine that proceeding within the meaning of the Constitution; motion for leave to appeal otherwise denied. Motion for a stay dismissed as academic.
